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Case 1:13-cv-08281-JCF Document 73-2 Filed 10/29/15 Page 2 of 107 ah

Law Office of Ricardo A. Aguirre
Attorney & Counselor at Law
644 Soundview Avenne
Bronx, New York 10473
Tel. No. 718-542-9300
Fax No. 718-542-2244
Email: aguirreesq@aol.com

 

fuly 29, 2013

Via Federal Express Mail ras.
A.D.A. Charles King a
N.Y, County District Attorney’s Office a
One Hogan Place

New York, New York 10013

Re: Verified Answer

Cyrus. Vance dr., N.Y. County Dis trict Attorney v. Denise Diaz
New York County Supreme Court, Index No. 451128-2013

Dear Counselor,

Enclosed, for your review, please find one copy of Defendant’s Verified Answer in the
instant action,

Sincerely,

KS ‘
Ricardo A. At

Attorney & Counselor at Law

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SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF NEW YORK.

 

CYRUSR. VANCEIR,
DISTRICT ATTORNEY of the
COUNTY OF NEW YORK

Plaintiff, VERIFIED ANSWER

-against-
Index No. 451128/2013

DENISE DIAZ,

Non-Criminal Defendant

x

 

 

As and for her answer to the complaint herein, the non-criminal defendant Denise

Diaz respectfully shows and alleges as follows:

1, Denies knowledge or information sufficient to form a belief as to the trath of the
allegations set forth in paragraph 1 of the complaint except admits that plaintiif purports to

proceed as stated herein.

pa Admits to allegations set forth in paragraph 2, except denies that defendant

refused to pay back approximately $130,000.00.

er Denies knowledge or information sufficient to form a belief as to the truth of the
allegations set forth in paragraph 3 of the complaint except admits that plaintiif purports to

invoke the Court’s jurisdiction as stated herein.

4, Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in paragraph 4 of the complaint except admits that plaintiff purports to base

venue as stated herein.

bso
Case 1:13-cv-08281-JCF Document 73-2 Filed 10/29/15 Page 4 of 107

a Admits to allegations set forth in paragraph 5, except denies knowledge or

information sufficient to form a belief as to the truth that plaintiff is an appropriate Claiming

Authority.
6. Admits to allegations set forth in paragraph 6.
7, Denies knowledge or information sufficient to form a belief'as to the truth of the

allegations set forth in paragraph 7 of the complaint except admits that criminal defendant

George Castro was convicted and imprisoned.

8, Denies knowledge or information sufficient to form a belief as to the truth of the
allegations set forth in paragraph 8 of the complaint, except admits that plaintiff purports said

indictrnents.

9. Denies knowledge or information sufficient to form a belief as to the truth of the
allegations set forth in paragraph 9 of the complaint, except admits that plaintiff purports said

charges.

10, Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in paragraph 10 of the complaint.

li. Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in paragraph 11 of the complaint.

12. Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in paragraph 12 of the complaint,

13, Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in paragraph 13 of the complaint, except admits that George Castro was tried

before a jury.

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14. Denies knowledge or information sufficient to form a belief as to the truth of the
allegations set forth in paragraph 14 of the complaint, except admits that George Castro was

sentenced and imprisoned.

15. Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in paragraph 15 of the complaint.

16. Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in paragraph 16 of the complaint.

17. Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in paragraph 17 of the complaint.

18. "Denies knowledge or information sufficient to form a belief as to the truth of the
allegations set forth in paragraph 18 of the complaint.

19, Denies knowledge or information sufficient to form a belief as to the trath of the
allegations set forth in paragraph 19 of the complaint, except admits that Castro owned a

company named IT & Security Solutions.

20. Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in paragraph 20 of the complaint.

21, Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in paragraph 21 of the complaint.

22. Denies knowlédge or information sufficient to form a belief as to the truth of the

allegations set forth in paragraph 22 of the complaint.

23. Denies knowledge or information sufficient to form a belief as to the truth of the
allegations set forth in paragraph 23 of the complaint, except admits Castro was in possession of

an Audi automobile on or about the time of his arrest.

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24. Denies knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in paragraph 24 of the complaint.

25. Denies knowledge or information sufficient to form a belief as to the truth of the
allegations set forth in paragraph 25 of the complaint.

26. Denies knowledge or information sufficient to form a belief as to the truth of the
allegations set forth in paragraph 26 of the complaint, except admits that Castro gave Denise
Diaz approximately $310,000.00.

27. Denies knowledge or information sufficient to form a beliefs to the truth of the
allegations set:forth in paragraph 27 of the complaint, except admits that Denise Diaz was a
Sergeant in the New York City Police Department at all time relevant in plaintiff’s action..

28. Admits to allegations set forth in paragraph 28, except denies that Diaz lived with
Castro during and after the alleged crimes.

29. Admits to allegations set forth in paragraph 29, except denies knowledge or

information sufficient to form a belief as to the truth of the allegations that said money was

stolen from Columbia University.

30. Admits to allegations set forth in paragraph 30 of the complaint.

31. Admits to allegations set forth im paragraph 31 of the complaint.

32. Admits to allegations set forth in paragraph 32 of the complaint.

Ba), Admits to allegations set forth in paragraph 33 of the complaint.

34, Admits to allegations set forth in paragraph 34 of the complaint.

35. Admits to allegations set forth in paragraph 35 of the complaint.

36. Denies allegations set forth in paragraph 36 of the complaint.

37. Admits to allegations set forth in paragraph 37 of the complaint, except denies

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having knowledge that said funds were ‘stolen proceeds”,

38, Admits to allegations set forth in paragraph 38 of the complaint, except denies

having knowledge that said “proceeds” were stolen.

39, Denies allegations set forth in paragraph 39 of the complaint.
40. Denies allegations set forth in paragraph 40 of the complaint.
Al, Denies allegations set forth in paragraph 41 of the complaint.
42. Denies allegations set forth in paragraph 42 of the complaint.
43, Denies allegations set forth in paragraph 43 of the complaint, except those

allegations where admissions or denials due to lack of knowledge or information sufficient to

form a belief as to the truth of the allegations were made.

44, Denies allegations set forth in paragraph 44 of the complaint.
45, Denies allegations set forth in paragraph 45 of the complaint.
46, Denies allegations set forth in paragraph 46 of the complaint.
47. Denies allegations set forth in paragraph 47 of the complaint.

AFFIRMATIVE DEFENSES

 

As and for their affirmative defenses, the Defendant asserts and state as follows

First Affirmative Defense

Complaint must be rejected because it fails on its merits.

Second Affirmative Defense

Plaintiff has failed to state a cause of action upon which relief can be granted.

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Case 1:13-cv-08281-JCF Document 73-2 Filed 10/29/15 Page 8 of 107

Third Affirmative Defense
Plaintiff failed to provide non-criminal defendant a formal demand for a sum certain and a
certified forensic accounting of George Castro’s bank accounts.

Fourth Affirmative Defense
Plaintiff commenced this cause of action in retaliation to non-criminal defendant’s Notice of

Claim for damages she sustained from the false arrest and unlawful imprisonment that Plaintiff's

investigator initiated,
Fifth Affirmative Defense

Violation of the U.S. Constitution’s “Due Process Clause” in the Fifth and Fourteenth

Amendments.

Defendants reserve the right to assert other defenses as discovery proceeds, mcluding on

the advice of counsel and others

Dated: New York, New York
July 25, 2013 ( ) -\ Wa
‘ - he,

Ricardo A. Aguirre \__ )

Law Office of Ricardo A. Aguirre
Attorney for Defendant

644 Soundview Avenue — Suite 6
Bronx, New York 10473

Tel: 718-542-9300

Fax: 718-542-2244

To: Charles King
Assistant District Attorney
New York County District Attomey’s Office
One Hogan Place
New York, New York 10013

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Case 1:13-cv-08281-JCF Document 73-2 Filed 10/29/15 Page 9 of 107

VERIFICATION

STATE OF NEW YORK.
) ss:
COUNTY OF BRONX

DENISE DIAZ, being duly swom, deposes and say that: I am the non-criminal defendant
in this proceeding; I have read the foregoing answer and know the contents thereof, the same is
true to my own knowledge, except as to those matters therein stated to be alleged on information
and belief, and as to these matters I believe to be true.

7

DENISE DIAZ Q)
Plaintiff

Sworn to before me this
25th day of Fuly, 2013

Aud lk D

NOTARY PUBLIG}——

RICARDO ANTONIO AGUIRRE
Notary Public, State of New York
No, 02AG6056104

Quallfied in Bronx Gounty 7
Commission Expires Marah 18, 2 ao

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Case 1:13-cv-08281-JCF Document 73-2 Filed 10/29/15
SUPREME COURT OF THE STATE OF NEW YORIC (15 Page 10 of 107

COUNTY OF NEW YORK

INDEX NO.: 451128 ~ 2013

 

CYRUS VANCE JR,
DISTRICT ATTORNEY of the COUNTY of NEW YORK

Plaintiff,
~against-

DENISE DIAZ,
Non-Criminal Defendant.

 

 

VERIFIED ANSWER

 

 

RICARDO A. AGUIRRE, ESQ.
Attorney for Plaintiff
644 Soundview Avenue
Suite 6
Bronx, New York 10473
Office: (718) 542-9300
Fax: (718) 542-2244

Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the
courts of the State of New York, certifies that, upon information and belief and
reasonable inguiry, the contentions contained in the annexed documents are not

Frivolous.
Dated: July 25, 2013 sccm _\

KC AAS
RICARDO A. A GUIRRE, HSC

AFFIRMATION OF SERVICE

STATE OF NEW YORK ) ss;
COUNTY OF BRONX)

L Ricardo A. Aguirre, an attorney admitted to practice law in the State of New York, affirms and says that: |
aim not 4 party to the within action for civil forfeiture, lam over 18 years of age; 1 have an office at 644
Soundview Avenue, Suite 6, Bronx, New York 10473; and on July 29, 2033, I served the within copy of
the Verified Answer, upon Asst. District Atormey Charies Kiag, at the New York County District
Attorney’s Office, One Hogan Place, New York, N.Y. 10013, by depositing | true copy thereof, enclosed in
a post-paid wrapper, in an official depository under the exclusive care and custody of the U.S. Postal
Service within the State of New York.

 

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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DENISE DIAZ,

PLAINTIFF,

~against-— Case No:
13 CIV 38281

CITY OF NEW YORK, JOSE FLORES, individually
and in his official capacity as
Investigator for the New York County
District Attorney's Office, JOHN DOE 1,
individually and in his official capacity
as Police Officer in the NYPD, and JOHN DOE
2, individually and in his official
capacity as an Officer in the NYPD or the
New York County District Attorney's Office,
DEFENDANTS.
DATE: August 27, 2015

TIME: 10:14 A.M.

DEPOSITION of a Non-Party
Witness, ANTHONY BORELLI, taken by the
Respective Parties, pursuant to a Subpoena
and to the Federal Rules of Civil
Procedure, held at the office of New York
County District Attorney's Office, 80
Centre Street, New York, New York 10013,
before John A. Lugo, a Notary Public of the

State of New York.

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APPEARANCE S:

RICARDO A. AGUIRRE, ESO.

Attorney for Plaintiff

DENISE DIAZ

644 Soundview Avenue, Suite 6
Bronx, New York 10473

BY: RICARDO A. AGUIRRE, ESO.

NEW YORK COUNTY DISTRICT ATTORNEY'S OFFICE

Attorneys for the Defendants
City OF NEW YORK, JOSE FLORES,
individually and in his official capacity
as Investigator for the New York County
District Attorney's Office, JOHN DOE 1,
individually and in his official capacity
as Police Officer in the NYPD, and JOHN
DOE 2, individually and in his official
capacity as an Officer in the NYPD or the
New York County District Attorney's
Office
80 Centre Street
New York, New York 10013
BY: ELIZABETH N. KRASNOW, ESQ.
~and-
MAUREEN O'TCONNOR, ESQ.

JOHN PATTEN, ESQ.

Attorney for Non~Party Witness
ANTHONY BORELLI

30 Vesey Street

New York, New York 10007

BY: JOHN PATTEN, ESQ.

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A. BOREDLI
Q. Who is it?
A. That's the captain, the duty
captain,
Q. Brandon Del Pozo?
A. Uh-huh.
Q. Did you see Captain DelPozo at

Sergeant Diaz's home on November 24, 2010?
A. I don't remember seeing him,

but I know I definitely saw him in the

precinct.
MR. PATTEN: That day?
THE WITNESS: That day.
QO. Sergeant Borelli, I believe you

testified earlier that there came a time
that you left Sergeant Diaz's house and
went to the 43rd Precinct, correct?

A. Yes.

Q. What led up to you going to the
43rd Precinct?

A. What led up to it? We had to
go back there. They told us go back to the
precinct. They ordered her to go the
precinct.

Q. Who is they?

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A. BORELLI

A. Whoever the job is or -~ al. fl
know, we ended up -- we had to go back to
the 43rd Precinct.

QO. Who told you that you had to go
back to the 43rd Precinct?

MR. PATTEN: Are you looking
for a specific name or identity by
title?

Q. Well, at some point you learned
that you had to go back to the precinct,
cight?

A. Yeah. All -- any kind of
interviews or anything that gets done gets
done at the precinct. So the resident
precinct that was the 43rd Precinct, so we
ended up back there.

Q. And when you say interviews,

you mean interviews by the police

department?
A. Correct.
Q. Interviews with Sergeant Diaz?
A. Yes.
Q. So it was your understanding,

and correct me if I'm wrong, that somebody

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A. BORELIT
in the NYPD had directed Sergeant Diaz to
report to the 43rd Precinct?

A. Correct, because they couldn't
direct me to go there, they had to direct
her.

Q. And what's the basis for that
understanding? Did she tell you that or
did somebody else tell you that?

A. I don't know. I don't know.

Q. But in any event, you went to
the 43rd Precinct, correct?

A. Yes, we ended up in the

43rd Precinct.

Q. How did you get to the 43rd
Precinct?

A. I drove.

Q. You drove Sergeant Diaz?

A. T believe T did.

Q. In your personal car?

A. I might have, yes.

Q. Was anyone else in the car?

A. No.
Q. The individual from DANY that

you spoke to about who you were going to

DIAMOND REPORTING (718) 624-7200 info@diamondreporting.com

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A. BORELII

showed up.

Q. At any point, did anyone ever
tell you that she was under arrest?

A. No, because when I left, they
weren't sure what was going on.

Ol But my question is --

A. No. The answer is no. Nobody

ever told me she was under arrest.
MS. KRASNOW: I don't have any
further questions.
MR. AGUIRRE: I just have a
question for clarification.
EXAMINATION BY
MR. AGUIRRE:

QO. Sergeant Borelli, my name is
Ricardo Aguirre. I'm an attorney. I
represent Sergeant Diaz in the civil case.

I'm just going to ask you some
questions for clarification. [If you don't
understand them, just ask me to repeat
them, okay?

A. Okay.

Q. So, when ADA Krasnow asked you

about an MOS, when the member of the

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A. BORELLI
Sick, who is the individual that can place
that person back on full duty?

A. The surgeon.

Q. In this particular instance,
did you or were you aware of the fact that
Sergeant Diaz was out sick?

A. I don't believe so, no.

Q- If you know, do you know if any
of the supervisors from NYPD knew that she
was out sick ab the time?

A, For this incident, I don't
know.

Q. ADA Krasnow asked whether or
not you heard anyone utter the words,
correct me if I'm wrong, "she's under.” TI
wasn't clear with your answer, do you
recall hearing that?

A. I do not recall hearing that,
no.

(Continued on next page to

include jurat.)

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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DENISE DIAZ,
PLAINTIFF,
-~against- Case No:

13 CIV 8281

CITY OF NEW YORK, JOSE FLORES, individually
and in his official capacity as
Investigator for the New York County
District Attorney's Office, JOHN DOE I,
individually and in his official capacity
as Police Officer in the NYPD, and JOHN DOE
2, individually and in his official
capacity as an Officer in the NYPD or the
New York County District Attorney's Office,
DEFENDANTS .
DATE: August 27, 2015

TIME: 12:14 P.M.

DEPOSITION of the Defendant,
JOSE FLORES, taken by the Plaintiff,
pursuant to a Notice and to the Federal
Rules of Civil Procedure, held at the
office of New York County District
Attorney's Office, 80 Centre Street, New
York, New York 10013, before John A. Lugo,

a Notary Public of the State of New York.

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APPEARANCE 8S:

RICARDO A. AGUIRRE, ESQ.

Attorney for Plaintiff
DENTSE DIAZ

644 Soundview Avenue, Suite 6
Bronx, New York 10473

BY: RICARDO A. AGUIRRE, §SO.

NEW YORK COUNTY DISTRICT ATTORNEY'S OFFICE
Attorneys for the Defendants

CITY OF NEW YORK, JOSE FLORES,
individually and in his official capacity
as Investigator for the New York County
District Attorney's Office, JOHN DOE 1,
individually and in his official capacity
as Police Officer in the NYPD, and JOHN
DOE 2, individually and in his official
capacity as an Officer in the NYPD or the
New York County District Attorney's
office
80 Centre Street
New York, New York 10013
BY: ELIZABETH N. KRASNOW, ESQ.
~and -
MAUREEN O'CONNOR, ESO.

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J. FLORES
correct?
A. Yes.
Q. And you can also make a

determination as to whether or not a person
is eligible to be arrested based on
probable cause, correct?

A. Yes.

Q. I'm sorry, your title now,
again, is?

A. Supervising investigator.

Q. And in your capacity as a
supervising investigator, you could also

direct one of your investigators to make an

arrest?
MS. KRASNOW: Form.
A, Yes.
Q. So let's go back to November
24, 2010.
Who called you?
A. Someone from the office, I

don't recall exactly who called me.
Q. And what, if anything, did they
tell you when they called?

A. They needed a supervisor to

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J. FLORES
respond to that location.
Q. And what did you say to that?
A. I said okay.
Q. Did you ask them why you needed

to go over there?

A. They just said they needed an
extra supervisor and I went directly there.
Q. Did they tell you what the
subject of the event taking place that you
had to go to, did they tell you what was

going on, that person on the phone?

A. There was possibly going to be
a search warrant at this location and an
arrest had been made, so they needed an
extra supervisor.

Q. At the time you received that
phone call, were you informed which
investigators were on the scene?

A. No.

Q. So my understanding is the
person that spoke with you conveyed to you
that there was an arrest made and that
there was a pending search warrant that was

going to be executed, correct?

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J. FLORES

Q. Now, at that point, did you
know who George Castro was when you
received that information?

A. No.

Q. So at that point, you don't
know whether or not George Castro was
arresked; is that correct?

A. T know he was arrested, that I
know, but that's all I know.

Q. So' just to be clear with your
testimony.

You get out of your car, you
walk over to the location, prior to
entering in you have the shield
displayed --

A. Yes.

Q. -~ on your outer garment?

You see a couple of NYPD
uniformed officers on the steps leading
into the house, correct?

A. Yes.

Q. You believe that at the door is

standing the duty captain. You also

testified that you think you spoke to

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someone from DANY's investigative team
prior to speaking to the duty captain; is
that correct?

A. Yes.

Q. But you cannot identify who
that person is?

A. No, I don't know.

QO. And that person informed you
that there was a sergeant from NYPD inside?

A. Yes.

QO. And that she possibly could be
married to --

A. An individual that was arrested
by other members of DANY.

Q. But you previously said that

she could have been married to George

Castro?
A. To Castro, I said that before.
Q. I just want to be clear.
A. And I understood that Castro

was under arrest already.

Q. How did you understand that?
A. At some point I was told that.
Q. At what point; before you went

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J. FLORES

A. Yes.

Q. How many?

A. Either one or two. I don't
remember. I think it was two.

Q. So now, you get in, who is the
first person you speak to?

A. The captain, the duty captain.

QO. What was his name?

A. I don't recall right now.

Q. And when you went up to him,

what, if anything, did you say to him?

A. We had a conversation and I
remember the duty captain asking me let me
know when you're finished here. But at
that point I'm not doing anything.

Q. Okay. Let's go back a bit.

You come up to the duty

captain, did you identify yourself?

A. Yes.
Q. What did you say?
A. I'm a supervisor with the

District Attorney's Office.
Q. And what did he say back to

you?

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J. FLORES

A. T don't remember. He didn't
have to say anything, he was the duty
captain.

Q. So after identifying himself,
did you ask him a question?

A. I don't remember.

Q. So let me ask you this.

Upon arriving on the scene
seeing what you just described,
understanding that there was a female
officer in there from NYPD that could be
possibly related to someone arrested, and
not knowing anything about this case prior
to entering, wouldn't it be incumbent upon
you to ask what's going on?

MS. KRASNOW: Form objection.

A. At some point I asked one of
the investigators. I must have asked what
was going on with this. I had no idea what
I was walking inte.

Q. Let's go back to your
conversation with the duty captain.

You mentioned that he said to

you let us know when you're done?

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J. FLORES
A. Yes.
Q. What did you understand that to
mean?
A, IT remember saying that we were

waiting for a search warrant and the duty
captain asked me to let him know when I was
done. Tt took a long time, it took a while
to get the search warrant.

Q. ‘What, if anything, did you
speak about concerning Sergeant Diaz?

MS. KRASNOW: Form objection.

Q. Well, let me ask you and I'il
rephrase the question.

Did there come a time that you
and the duty captain spoke about Sergeant
Diaz?

A. YecSe

Q. What, if anything, did you
speak about?

A. He advised me -- he asked me to
Let him know when I was done in the place
because he was going to have Sergeant Diaz
ordered over to the 43rd Precinct.

Q. Did he tell you why he was

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J. FLORES
going to do that?

A. No.

Q. Did you talk to him about her
possibly being a subject in your
investigation?

A. No.

Q. Outside of that statement by
the duty captain, was there any further
conversation between you and the duty
captain concerning Sergeant Diaz?

A. Not that I remember.

Q. Did there come a time you spoke

with Sergeant Diaz in her residence on

November 24, 2010?

A. Yes.
Q. What, if anything, was said?
A. t advised her that -- IT

distinctly remember I advised her that I
didn't want to interview her, that I wanted
to talk to the delegate, the sergeant
delegate. And I also advised her that we
were waiting for a search warrant for her
piace.

Q. What were you going to ask her?

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J, FLORES

A. No.

Q. Did there come a time where you
declared that she was associating witha
known felon?

A. No, all I had -- I was waiting
for a search warrant. It was the only
thing I was going to do.

Q. Let me ask the question again.

Did there ever come a time
where you stated that she was associating

with a known felon?

A. No,
Q. You never said that to her?
A, No.
Q. You never declared that in

front of everybody that was there?

A. No.

Q. As you're leaving, tell me who
left the apartment at the time you were
leaving with your investigators.

A. I don't know. All I remember
we all left. We all went outside to the
sidewalk.

Q. Well, who was in front of you?

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J. FLORES
A. I don't remember.
Q. Do you remember whether or not

Sergeant Diaz remained or Sergeant Diaz
left before you?

A. ~ don't remember. At some
point she left with the NYPD people.

Q. Let me ask you this.

When you were leaving, was
Sergeant Diaz in front of you as you were
walking down the steps?

A. TI don't remember.

Q. Was the duty captain with you
as you were leaving the premises?

A. We all left. Every person that
was involved with law enforcement came out
of the house. I don't know -- I don’t
remember if she was in front of me or
behind me. We all left, we all went
outside.

Q. Were there any relatives, to
your knowledge, that Sergeant Diaz had on
the premises besides her two children, do
you recall?

A. t don't recall. Could have

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J. FLORES
been, but I don't recall.
Q. Do you recall speaking to
Sergeant Diaz about having been a member of

the New York City Police Department?

A. Yes.
Q. What did you tell her?
A. TI must have mentioned I was

retired from NYPD.

Q. So you engaged in conversation
with Sergeant Diaz?

A. But I was in the process of
saying I'm waiting for your delegate and I
distinctly remember saying I was waiting
for the delegate to come.

Q. So, there came a time when you

introduced yourself to Sergeant Diaz,

correct?
A. Yes.
Q. When you introduced yourself,

what did you say to her?

A. That ~T was a supervisor from
the District Attorney's Office.

Q. And then what did you say next?

A. And I remember saying that we

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J. FLORES
were waiting for a search warrant for the
house.

QO. In there somewhere you
mentioned you were retired?

A, Yes.

QO. At no time you asked whether or
not she would consent to a warrantless
search of her house?

A. No, I didn't ask that. I was
going to get a search warrant, I was going
to wait for that search warrant.

Q. Okay. Who ordered the search
warrant, to your knowledge?

MS. KRASNOW: Form.

A. I don't know.

Q. Did you speak to anyone else
besides the person you spoke on the phone
who told you to report to that address?
Did you speak to anyone else after that on
the phone concerning the search warrant?

A. I spoke to -- I believe I spoke
to Investigator Wigdor, W-I-G-D-O-R.

Q. What did he say to you?

A. All I remember was I was told

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J. FLORES
A. Under arrest.
Q. I want to go back to when you

were leaving the apartment.

To the best of your
recollection, when you were leaving the
apartment, who was in front of you when you
were leaving the apartment, if you recall?

A. I don't recall.

Q. I'm sorry if I asked this
question before, I apologize, besides her
two children, Sergeant Diaz's two children,
do you recall seeing any other family
members that were on her premises on
November 24, 2010?

A. I don't recall.

Q. Do you recall her saying that
she had her aunt there or a woman by the
name of Josephine?

A, She could have been, but I
don't remember.

Q. Did there come a time when you
were entering the premises that you said to
the duty captain, "she's under"?

A. No, I never said that.

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J. FLORES
cooperating or not cooperating.

Q. Well, was she or wasn't she
cooperating?

A. I didn't question her. Tf
didn't interview her. But she was not
cooperating.

Q. How was it that she did not
cooperate?

A. She wanted us out of the house,

I remember that. She wanted everybody to
get out of the house. That was about it,
from what I remember.

Q. You testified earlier that
there were various individuals, officials
from DANY, officials from NYPD in her
apartment when you walked in, correct?

A. res.

Q. When you walked in, at any
time, did she say get out of my house or
say something close to that? Did she ask

people to leave when you walked in the

apartment?
A. % don't remember.
QO. You also testified earlier that

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J. FLORES

believe a copy of the warrant was
either faxed or somehow sent to the
attorney.

QO. How would you know that?

A. T'm trying to remember.

Q. When you were outside, did you

see Sergeant Diaz leave the premises,
leave outside of her premises, leave to go
anywhere? Did you see her go anywhere?

A. At some point I think she left
with members of the NYPD.

QO. Do you know how she left? Did

she walk?

A. No, I don't remember.

Q. pid you see if she got into a
vehicle?

A. I donit remember.

Q. once she left the premises, you

mentioned you remained on the premises.
Around what time did the search

warrant get there?

A. We remained outside the
premises.
Q. Right, outside the premises.

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J. FLORES

A. It took a while to get the
warrant.

Q. Approximately, what time did it
get there?

A. Tt's in one of the reports. I
don't remember right now.

Q. How long did the search take?

A. Probably a couple of hours.

Q. Around what time did you leave?

A. IT think we finished somewhere

around after 5:30.

QO. Upon the conclusion of the
search, what, if anything, did you do? Did
you call anybody, did you document
anything?

A. We documented whatever we took
From the place. We left copies of the
inventory sheets of everything that we
took, left it at the residence. And Tf
remember calling the delegate because I
understand he had the keys to the house, to
come back and secure the house.

Q. Do you know who the delegate

was, do you remember his name?

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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

 

x
DENISE DIAZ, |
DECLARATION OF
Plaintiff, BRANDON DET POZO
~against-
THE CITY OF NEW YORK, et al, 13 Civ. 8281 GCE)
Defendants.
x

 

BRANDON DEL POZO, declares pursuant to 28 U.S.C. §1746, under penalty of

perjury, that the following is true and correct:

Al,

I served with the New York City Police Department (“NYPD”) from
ACQHAS 4997 through July, 2015. On July 31, 2015, I retized from the
NYPD with the rank of Deputy Inspector.

As of November 24, 2010, my assignment with the NYPD was Duty Captain
of Patrol Borough Bronx.

On the morning of November 24, 2010, I received a notification te respond
to an incident at a home on Admiral Lane within the confines of the NYPD
43rd precinct.

While at the location, which I later learned to be the home of NYPD
Sergeant Denise Diaz, I spoke to an investigator from the New York County
District Attorney’s Office (“DANY”). Ino longer recall that individual’s
name.

‘The DANY investigator told me, in sum and substance, as follows:
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a. DANY investigators went to the house on Adrmiral Lane to arrest an
individual known to live there, George Castro, based on a complaint
that Castro had stolen millions of dollars from Columbia University
and to execute a seatch wartant.

b. Upon arriving, the DANY investigators discovered that Castro’s wife
or common-law wife, Denise Diaz, was a Sergeant with the NYPD.

c. Sergeant Diaz lived with Castro at the house.

6. Pursuant to NYPD Patrol Guide §203-10, a member of the service may not
knowingly associate with an individual “reasonably believed to be engaged in,
likely to engage in, or to have engaged in criminal activities.” A copy of the
current version of Patrol Guide §203-10 is attached to this declaration as
Exhibit A. A similar, if not identical, version of §203-10 was in effect in
November, 2010.

2. As the circumstances before me implicated Pattol Guide §203-10, 1 ordered
that Sergeant Diaz be placed on-duty, that she leave the house, and that she
report to the NYPD 43nd precinct so that the Police Department could
investigate her relationship with George Castro and why she was present at
(and lived at) a location that was the target of a search warrant.

8. Sergeant Diaz was not charged with a criminal offense. She was placed on-
duty and ordered to the precinct under the authority of the NYPD to

investigate misconduct among its own officers.
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9. I have no recollection of any representative of DANY stating, to me or to
anyone else, that Sergeant Diaz was “associating with a known felon” or that
she was “ander,” as in, under arrest, My decision to order that Diaz be
placed on duty, that she leave the house, and that she repott to the 43rd
precinct was not based on, or otherwise influenced by, any such statements

by a representative of DANY.

Executed in BUtUAGTOY Vermont on Beever 19, 2015.
DipaBEr

VU

BRANDON DBL POZO
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Exh. A
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PUBLIC
CONTACT —
PROHIBITED
CONDUCT

PATROL GUIDE

 

Section: General Regulations Procedure No: 203-10

 

PUBLIC CONTACT - PROHIBITED CONDUCT

 

 

 

 

 

 

 

DATE ISSUED: DATE EFFECTIVE: REVISION NUMBER: PAGE:
10/03/14 10/03/14 Lof3
iF Using discourteous or disrespectful remarks regarding another person’s

1d,

ethnicity, race, religion, gender, gender identity/expression, sexual

orientation, or disability.

a. Members shal! address the public using pronouns, titles of respect,
and preferred name appropriate to the individual’s gender
identity/expression as expressed by the individual. The term
“gender” shall include actual or perceived sex and shall also
include a person’s gender identity, self-image, appearance,
behavior, or expression, whether or not that gender identity, self-
image, appearance, behavior, or expression is different from that
traditionally associated with the legal sex assigned to that person

at birth.

Knowingly associate with any person or organization:

a, Advocating hatred, oppression, or prejudice based on race,
religion, gender, gender identity/expression, sexual orientation, or
disability.

b. Disseminating defamatory material.

om Reasonably believed to be engaged in, likely to engage in, or to
have engaged in criminal activities.

d. Preventing or interfering with performance of police duty,

Divulging or discussing official Department business, except as authorized.

Manipulating manually or electronically, transmitting in any form, or

distributing any official Department recorded media or recorded media

coming into possession of the Department as evidence or for investigative

purposes except as authorized for official Department business. Recorded

media includes videotapes, photographic images or pictures, audio

recordings, electronic or internet files, or any like forms to be available in

the future.

Engaging in conduct prejudicial to good order, efficiency, or discipline of

the Department.

Making recommendation for or concerning any person or premises to any

government agency in connection with issuance, revocation, or

suspension of any license or permit, except when required in performance

of duty.

Soliciting, collecting, or receiving money for any political fund, club,

association, society, or committee.

Joining any political club within the precinct to which assigned.

Being a candidate for election to, or serving as member of a School

Board, if School District is located within City of New York (see Section

2103-a, Education Law).

While on duty or in uniform, endorsing political candidates or publicly

expressing personal views and opinions concerning the merits of:

a. Any political party or candidate for public office;

NEW * YORK * CITY * POLICE » DEPARTMENT
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PATROL GUIDE

 

PROCEDURE NUMBER:

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203-10

 

 

 

 

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PUBLIC
CONTACT —
PROHIBITED
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b. Any public policy matter or legislation pending before any
government body; or

c. Any matter to be decided by a public election,
except with the permission of the Police Commissioner.
Having an interest in or association with premises engaged in illegal
gambling operations, smoke shops, after hours clubs, or similar illegal
activities, except in performance of duty.
Patronizing unlicensed premises (social clubs, after hours clubs, etc.)
where there is illegal sale of alcoholic beverages and/or use of drugs,
except in performance of duty.
Violating Section 1129 of the New York City Charter. This section
provides that any uniformed member who shall accept any additional
place of public trust or civil emolument, OR who shall be nominated for
any office elective by the people, and does not decline said nomination
within ten days, shall be deemed thereby to have vacated his or her
position/office in the Department. This vacatur of office shall not apply
to the following:

a. A member of a community board

b. An appointment, nomination, or election to a board of education
outside the City of New York

C. A member, who with the written authorization of the Mayor, shall
accept any additional place of public trust or civil emolument,
while on leave of absence without pay from the Department.

d, A member who, with the written approval of the Police
Commissioner, shall accept any additional place or position
outside the City of New York, limited to volunteer work as a
member or volunteer in, of, or for a community board, not-for-
profit corporation, volunteer fire department,- or other similar
community-oriented entity.

Smoking in public view while in uniform.

Occupying seat in a public conveyance, while in uniform, to exclusion of

paying passenger.

Occupying seat on a train, while in uniform and assigned to train patrol

duties.

Using personal card describing police business, address, telephone

number, or title except as authorized by Department Manual.

Rendering any service for private interest, which interferes with proper

performance of duty.

Possessing or displaying police shield, IDENTIFICATION CARD

(PD416-091), or similar object except as authorized by the Police

Commissioner.

Failing to provide notice to the Department of an obligation or intention

to perform services in any federal military branch or state militia

organization.

NEW « YORK ° CITY * POLICE «+ DEPARTMENT
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PATROL GUIDE
PROCEDURE NUMBER; DATE EFFECTIVE: REVISION NUMBER. PAGE:
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PUBLIC 21. Serving on a community board’s Public Safety Committee (which deals
CONTACT — directly with Police Department and other law enforcement matters).
PROHIBITED 22. Voting on any matter that comes before the community board concerning
CONDUCT Police Depariment activities in the district that the board serves.
(continued) 23. Wearing any item of command-related merchandise which contains a

Department logo or shield, or in any way identifies its wearer with the

New York City Police Department, unless approved by the commanding

officer concerned prior to being worn by a member of the service,

uniformed or civilian, on or off duty.

a. This prohibition extends to the use of the Department logo or shield
in artistic or mural form, in caricature or cartoon-like
representation, or on such items that include, but are not limited to:

()
(2)
(3)
(4)
GS)
(6)
(7)
(8)
(9)

(10)

Pins

Jewelry

Hats

Mugs

Clothing items

Patches

Writing implements
Challenge coins

Department property (walls, muster room entryway,
watercraft, etc.)

Any other adornment or curio,

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POLICE DEPARTMENT
CITY GF NEW YORE
INTERNAL AFFAIRS BUREAU
INVESTIGATING OFFICER'S REPORT

 

From: Sergeant Tara Croz Command: JAB Group#l)
Callowt: #10-3309 TAB Leg: #10-58607

 

Complainant: Columbia University

 

Officer Witnesses: Lt. Timothy Burke, Tax# 893249, 43" Precinct

 

Subject Officer: Sgt Denise Diaz, Tax # 917536, 24" Precinct

Allegation: Association Crime (family Member)

POCO TR

Subject: Callout#10Q- 3309
Time: 2100 Day: Wednesday Bate: 11/24/10

Details: On the above date at approximately 1130 hrs, the undersigned along with Sgt.
White, were assigned callout # 10-3309 for investigation ofthe following details:

As part of the investigation the Investigators obtained the $/0’s PA-15 for | Police
Plaza Personnel Records Unit. The PA-15 Hsted the $/O as Single upon appointment to the
department on 07/18/96. There was no mention of a spouse, common law, or ary family
mernber with the name George Castro. No negative data was uncovered during her
application investigation.

At 1345 hours, the S/O was present at the 43" Poet, along with her SBA
representation, Sergeant Anthony Borelli. ‘The 1/0’s officially placed the S/O on Modified
Assignment, as per Captain Andrea, CO [AB Group 10, under the authority of Chief
Campisi. The I/O notified the Command Center at 1400 hours, of the S/O’s change of duty
status.

The Investigators conducted official department hearings under PG 206-13 and PG
263.08 of PO Finnelli and Lt. Burke of the 43" Precinct. PO Fiunelli, Tax #880894, Shick!
7531, 43" Precinct was represented by PO McGee, PBA Delegate and stated the following
in sum and substance. PO Finelli was working 0705X1540 and assigned as the Lieutenants
operator. PO Finnelli was in uniform and assigned to patrol in a marked RMP. At
approximately 0828 he was notified by Lt. Burke to respond to 109 Admiral Lane for a job
that originated from the station house. Once at the location they were met by an off-duty
female MOS. ‘The female MOS identified herself immediately and showed her department
ID card to the Lieufenant. The female was visibly upset and was accompamied by a male
and femate child. He was informed by a Detective from the Manhattan District Attorneys
Office that an arrest of a mate was effected at the location prior to their arrival. PO Finnelli
did not observe the male who was arrested at the location or inside any of the Manhattan
DA vehicles, nor did he learn the apprehended males identity. He had no knowledge of the
S/O's association or relationship to the male who had been atrested, To his knowledge the
S/O did not interfere in any portion of the Manhattan DA Office arrest or search warrant
proceedings. At approximately 0920 hours they left the location. PO Finnelli had no other
information of investigative value to add to the investigation.

Lt. Timothy Burke, Tax# 895249, 43" Precinct was represented by Lt. Daniel
Brown, BX Director, LBA, He was officially interviewed and stated the following in sum
and substance: He was working a 0650x1535 tour and was assigned as the day tour platoon
‘eormmander. Lt, Burke was covering patrol with his operator, PO Finelli, in a marked
RMP, when he was contacted via cell phone by the 43 Pet, Desk Officer, Sgt. Laura

By

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Perez, He was informed that an unidentified female sergeant called the desk crying and
requested a delegate to her residence. The nature of the call was unknown at this time. Lt.
Burke obtained the address and immediately responded to the location. Lt. Burke notified
Central of his location and put himself on a 10-61 from the precinct. Once at the location
(109 Admiral Lane) he was met by off-duty Sergeant Denise Diaz. The 8/O showed Lt.
Burke her NYPD Identification card and stated she works at the 24"" Precinct. The female
was dressed in civilian clothes and appeared extremely upset. She stated that her children’s
father had been arrested, but did not provide any further details. At no time did the 5/O
make any statements to Lt. Burke. He did not over hear any statements and/or comments
she made to the investigators from the Manhattan DA Office. At the scene, Lt. Burke
observed four (4) investigators from the Manhattan DA Office. He conferred with Det.
Reginald Barnett who informed him that they made an arrest of one individual prior to
there arrival. To his knowledge the S/O was not a subject of there investigation and was
not being held for any reason. The S/O left the location of her own free will with her
delegate who was also present. Lt, Burke had no further involvement with the Manhattan
DA Investigators and nothing of value to add to the investigation,

Copies of the Receipts from the Search Warrant executed at the S/O’s residence
along with copies of the 43" Pot Second Platoon Roll Call and memo-book entries were
obtained and incorporated into the call-out folder.

‘The undersigned conferred with Group 10 Commanding Officer, Captain Peter
Andrea. Captain Andrea recommends this case be assigned as a “C” case to Group 10.

 

Expenses Incurred: N/A

Investigating
Officer

Accompanying
Investigator Sergeant Joseph White

 

Commanding Officer

 

Captain Peter Andrea

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POLICE DEPARTMENT
CIETY OF NEW YORK
INTERNAL APFAIRS BUREAU
INVESTIGATING OFFICER’S REPORT

Fron: Sergeant William Ramirez Command: IAB Group#10
Callout: #103309 IAB Log. #10-58607

Accompanying Investigater: Set. Fuentes
Complainant: Columbia University
Subject Officer: Sgt Denise Diaz. Tax #917536, 24" Pet

Allegation: Association — Crime (Family Member)

Ce lll

Subject: Calloat#10- 3309
Pime: 1435 Day: Wednesday Date: 11/24/10

Details: On the above date at approximately 1435 brs, Sergeant William Ramirez was
assigned callout # 10-3309 for investigation of the following details:

On 11/24/10, at approx. 0919 hrs, reporter Lt, Burke, Tax #895249, 43" Pet notified
the command center to report the following: 1/O’s from the Manhattan District Attorney's
office pursuant to an active investigation, apprehended the S/O’s common-law husband,
George Castro, M/H, DOB 02/23/62, as he was exiting the S/O's residence in possession of
a bag that contained a computer and $400,000.00 U.S.C in unknown denominations.

An interview with reporter Lt. Burke revealed that S/O Sgt. Diaz was present in her
residence at the time that Mr. Castro was apprehended by investigators from the NY
County DA’s office. The $/O exited her residerice upon becoming aware of the interaction
between Mr. Castro and investigators and was visibly distraught; the S/O subsequently
contacted the 24" Pct. desk, prompting 24" Pet. personnel to contact the S/O’s resident
Pct., the 43 Pct., who immediately dispatched the reporter to the S/O’s residence. At the
residence, the S/O advised that Mr. Castro had formerly resided at the location but had
ceased residing there as recently as August 2010; however, a NYS DMV check revealed
that Mr. Castro purchased and registered to the S/O’s address a 2011 Audi Q7, White
Suburban, NY Plate FFW1351 on November 18, 2010, six (6) days prior, The S/O further
advised that the bag recovered from Mr. Castro was his property and that she had no access
to it. Upon arrival of Bronx Duty Captain Brandon Del-Pozo Tax # 918925, the S/O was
placed on duty and subsequently transported to the 43” Pet. station house to await 0's
from the Internal Affairs Bureau. The residence was secured by DA’s office investigators
pending the application for obtaining and execution of a seasch warrant at the residence.

"The S/O and Mr. Castro have (2) children in common, Ryan Castro DOB 03/50/02
and Gabriela Castro DOB 12/05/06 who were present and subsequently removed by Ms.
Josephine Rodriguez (children’s godmother) to 570 Gorge Road, Cliffside Park, N.Y.

Command Center I/O's contacted the NY County DA’s office and conferred with
Investigator Michael Wigdor, who informed that Mr. Castro was in possession of a
substantial amount of money (millions of dollars), that unknown person(s) were able to
unlawfully transfer into his account from Columbia University without consent or authority
to do so. It is alleged that Mr. Castro did knowingly and intentionally steal money by
removing said money from his account and spending an unknown amount. Investigator
Wigdor also advised that prior to the time of arrest, the DA’s office did not know thal an
MOS resided at Mr. Castro's residence but that at the time of arrest, the S/O did identify
herself to DA’s investigators as a Sergeant assigned to the 24" Pet.

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The u/s was informed by DE Monteleone, CO MIAB, that upon conferral with
Columbia Univ. secarity personnel, it was revealed that on 11/22/2010 a frand inquiry was
initiated by the Columbia University Accounts Payable Dept. regarding the diversion of
money out to Columbia Presbyterian Hospital in which hospital officials contacted and
advised that they had not received rontine required monies that are ordinarily transferred
via a paper check from Columbia Univ. to Columbia Pres. Hospital. It was soon discovered
that an unknown person had contacted Columbia University in an unknown manner and
posed as a Columbia Pres. Official and requested that paper checks no longer be utilized to
frangfer these monies but that wire transfers should now be utilized. These transfers
occurred between October 6, 2010 and November 22, 2010, totaling approximately $5.7
million U.S.C. and were deposited into multiple accounts one (1) of which was opened in
person by Mr. Castro at a TD Bank branch (unknown branch, date, location). Mr. Castro
had withdrawn $150,000.00 USC from this accotnt yesterday, 11/23/10, At this time, the
additional accounts have been frozen atid approx $2 million has already been recovered,
Lastly, at this time, as per NY County DA’s office Deputy Bureau Chief Walter Alexander,
there is (1) confirmed check in the amonne of $60,000.00 USC that is believed to be made
gut to the S/O with the $/O Hsted as the payee.

On today’s date at approx. 1600 hrs, a search warrant was executed by the NY
DA's office investigators at the $/O's residence in the presence of investigators assigned ta
the Infernal Affairs Bureau. The following items were recovered: (1) computer, a
facsimile machine, $5219.00 in USC, and miscellaneous bank statements/documents. A
second search warrant was conducted by {/O’s assigned to the NY County DA’s Office at
}ES Bast 57" St Suite # 1107; suknown results at this time,

The undersigned performed a background check on the subject officer.

Sergeant Denise Diaz, Tax# 917536, Shicld# 01179, Precinct 24

PEPR:

Appointed: 07/18/1996, Assigned to Command: 05/19/2009

Duty Stams: Full/Line-of — Duty Sick Report, Active/No Restrictions

Sick Record: 34 Events/Not Chronic

Arrest Record: 81Arrests (20-Felonies, 53 -Misdemeanors & 2-Violations)
IAPRO: Twelve (12) Events including the current C/O; two (02) “C” cases, Four
(4) ‘M” cases; One (1) “CC” case; Three (3) “OG” cases; one (1) similar allegation,
carried under log #99-22519, allegation DRV — Other although summary stated that
“A confidential source notified [AB/Group 21 that a MOS maybe associating with
known criminals’; this case was closed August 14, 2001 as
UNSUBSTANTIATED, PA-I5:

CORB: Four (4) Events (Unsubstainted)

 

“There are no listings of Mr, Castro or any of the six (6) names that are associated with the
numerous bank accounts that have apparently received the diverted monies.

A NYS DMY Query check of the S/O revealed two (2) vehicles registered in the 5/0"s
name. Vehicle #1: 1998 Honda Accord, Parple 4DSD, NY plate ATE4668, Vehicle #2:
2009 Honda Accord, Gray 4DSD NY plate ENJ6352, both registered at S/O’s address as
reflected by Dept. recerds

Mr. George Castro, M/H, DOB 02/23/62, NYSID #06915490M; BCI/ME check
revealed three (3) arrests prior to this incident; Arrest #4: June 17, 1991 for Conspiracy
2" Degree with no reported corresponding court information; convicted of Conspiracy i
Degree and sentenced to two (2) to four (4) years in NY State prison; NYS DOCS inmate
from March 6, 1992 to January 18, 1994; Arrest #2: December 20, 1991 for CPW 3®
Degree (Loaded Firearm)/Unlawful Wearing of A Body Vest/Resisting Arrest; convicted
upon plea of guilty, no sentencing/prison information available; Arrest #3: January 27,
1992 CPCS 5" Degree/Prison Contraband 1 Degree/CPCS 7" Degree; convicted upon
plea of guilty on April 7, 1992; no sentencing/prison information available; RI'CC: check
revealed one (1) additional arrest on March 8, 1990 for Grand Larceny 3 Degree, which
occurred in front of 1161 Elder Avenue, Bronx N.Y. and one (1) UF 250 prepared on
January 2, 2007 for CPW in the V/O of 181 West 238" Street 52. A Financial Query: was
conducted utilizing the Assistance of Group 2 which revealed numerous past out of state

 

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residences/addresses. Additionally, Mr. Castro has an extensive credit history with several
properties and/or accounts pending, At this ime, it is unknown if the aforementioned
accounts are directly related to his business transactions. Mr. Castro notes himself as a
proprietor with “IT Security Solutions” located at 115 East 57" St. Suite # 1107. NYS
DMVicheck of Mr. Castro revealed one (1) vehicle registered in his name, a 2011 Audi
O7, White Suburban, N'Y Plate FFW1351; registered at S/O’s address as reflected by Dept.
records: note: purchased on November 18, 2010

The $/0’s Glock 19 service firearm serial # BXTS542US has been removed and
safeguarded at the 26" Precinct ander Property Clerk Invoice # 526024; Firearm Serial
Removal Order # 10.624, As of 1345 hours, the S/O has been modified for the good order
of the department, under the supervision of D.E William Monteleone, C.O. M.LA.B. under
the authority of Chief Charles V. Campisi.

‘The undersigned conferred with Group 10 Commanding Officer, Captain Peter
Andrea. Captain Andrea recommends this case be assigned as a “C” case to Group 10

Polee Officer at the Command Center was notified at 21:30 hours.

 

Expenses Incurred: N/A

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Investigating Sitti [Gut Zaccompanying

Officer Sérgeant William Rarnirez Investigator

Team Leader/
(Lieutenant Ant

 
  

 
    

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Commanding Officer Lied
Captain Peter Andrea
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POLICE DEPARTMENT
CITY OF NEW YORK

INTERNAL AFFAIRS BUREAU

INVESTIGATING OFEICER’S REPORT

From: Sergeant Marcy Selsey Command: IAB Group #10
Case #: C10-0899 TAB Lag: 18-58607
Greup #: 10-86 Classification: B-2

Reporter: Lieutenant Timothy Burke [895249] 043 Precinct
Subject Officers(s): Sergeant Denise Diaz {917536/1179] 24" Precinct

Allegations(s): Association - Crime (Family Member)
"SAM ~ Modified Not Arrested

 

Subject. DMV QUERY FOR GEORGE CASTRO
Date: 05/06/11
A DMV query for George Castro shows the 2011 Audi Q7 was registered to the

Subject Officer’s address, 109 Admiral Lane Bronx, NY. The plate was issued on
November 18, 2010, 6 days before Mr, Castro was arrested.

 

Expenses:
m ao

 
   

=

Sergeant Marey” Selsey

Investiga itor >

_ fa CALE ft
Lieutenant Keith King Captain Peter Andrea
Team Leader Commanding Officer
Worksheet # 36

Attachments A-F

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Bureau: 130-PATAGL SERVICES BUREAU
BorofEHvision: 162-PATROL BORO MAN NORTH
Precinct/Commeand: 024-024 PRECINCT

Entered by: Det inv Kethiy JEAN on Jan 02, 2070 at 18:45
+Corruption Case = TA number: 16-58607 © Received: Nov 24, 2016 a7,36

Case number: CiG-0899

Officers subjects:
SGT DENISE DIAZ [917536/024793
Officer current info:

Bureau: 130-PATROL SERVICES BUREAU
Boro/Givision: 163-PATROL BORO BRONX
Precinct/Command: 049-049 PRECINCT

Snapshot - officer information at time of incidents

BadigefEp no: 917536

Bureau: 130-PATROL SERVICES BUREAD
Boro/Division: 162-PATROL BORO MAN NORTH
Precinct/Command: 024-024 PRECINCT

Borough Residence: Brom

Pracinct Residence: 043-043 Pct.

Rank/ttle: SGT

Age: 39 Years of employment: 44 Years with unk: 6
in uniform: Ne Off duty: Ne Off digy employed: No

Allegations:

Association - Crime (Family Member} -

SAM - Modified Not Arrested - SAM-Association Criminal
DRY-Oth Dept Rules/Procedures -

DRV-Oth Dept Rules/Procedures -

DEFT GEORGE CASTRO [NYSID#06915490M/)
Officer current info:

Bureau’
Bore/Division:
Praia /Command,

Snapshot - officer information at time of incident:

Badge/ID no: NYSID#O6915490M

Bureain

Baro/Division:

Precinct/Command:

Rank/itie: DEFT

age: Years of employment: Years with uniti

In uniform: No Off duty: No Off duty employed: No

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Officer witnesses:
LT TIMOTHY BURKE [895249/0000G]
Officer current fafa:

Bureau! 130-PATROL SERVICES BUREAU
Boro/Division: 163-PATROL BORO BRONA
Precincl/Command 043-043 PRECINCT

Surimary:

(RSP) 11/24/10 @ O91Ghrs Exté 2234 ** CALLOUTS# 16-
3309//ASSOCIATION-CRIME (FAMILY MEMBER) ** LY Burked 895249
{043 Pet} called C/C and reported the following: Manhattan ADA's
conducted @ search warrant and found it to be the residence of NYPD
MOS Sgt Denise Diaz# 917536 (024 Pct). A/O Michael Wigdor
(Investigation Bureau DA's Office-212-335-89B1) reported he observed
the 5/0's child in common husband, George Castro leaving the S/C's
residence with a bag that contained a computer and approximately
$400,000.00 USC (Four Hundred Thousand Dollars) on his person, Sgt
Diaz is currently at her resideace with her delegate and Inspector Ortiz
C.G. 43 Pet was notified In regards. (RSD)

+0925hrs After conferral with Inspactor Pfister it is recommended &
Call-Out investigation be conducted by Grp 10, (RSD)

x#*0928hrs Operations, 20 Miekuson called C/C in regards to the above,
{RSD}

xeag09Ghrs Exté 2234 WO called Gro 10, OF Johnson notified in reaards
to the above Call Out, {ASD}

a#*0930hrs Inspector Pfister conferred with Captain Delpeze whe
reported the S/O is fit for duty and Is currently at the 043 Pct. (RED)

***003thrs D1 White SRBX notified in regards. (RSD)

IAPRO check reveats 1-prior Association log in the systemm# 99-22519(C)}
from an ahonymous person alleging the S/O is associating with criminals,
3-Priog Domestic incidents found. (RSD)

«= 1004hrs Exté 8443 YO contacted DA's office, Michael Wigdor
(Retired MOS) @ 212-335-8981 who reports that George Castro
02/23/62 NYSLD# 06915490-M was in possession of a substantial
amount of money that someone was able to transfer into his account
frorn Columbia University in the millions of dollars. George Castro did
know and did steal money by removing the money from his account and
spending some of it. This case is either a Conspiracy or an accident
however, George Castro did know about the money being in his account
and he did knowingly begin to spend it. Michael Wigdor reports at the
time of the arrest they did not know that an MOS resided there and at
the time of the arrest, the S/O did identity herself ta the DA's office by
stating she Is a Sgt in the 024 Pet. The ADA's assigned are ADA Patty
O'Connor & ADA Jason Berland, (RSD)

#7025)rs E-lustice report conducted by Grp 7 (Attached) reveals prior
atrests of George Castro NYSID# 06915490-M. 7-Total Arrest charges, 5
Felony, i-Violent Felony, 2-Firearm, 2-Misdemeanors. E-Justice check
does not fist today's arrest yet. (ASD)

1400 hrs Sot Cruz Grp 16 called with the following update : S/o was

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placed on modified assignment @ 1345 hrs by Captain Andrea €.0. Grp
30 for the good order of the department. Wil
@ 2000 ivs Sgt Ramirez Group 10 called the C/C with the following
update: Sgt Rarnvez conferred w/ Captain Andrea CO Group 10 whe
recommends this case be assigned as a "C" case to Group 10.
$/O was modified @ 1345 hrs by Captain Andrea under the authority of
Chief Campisi, (DR)

@ 2400 hrs Aipha page sent to all. (DR) for OP)

When/where:
Date/time occurred: Nov 24 2010 08:17
_ Primary Incident Location: 109 AdmiralLa Bronx NY 30473 Precinct: 043-043 Pat.
Count: Branx
Linked files;

Request to Add Allegations

Status/aseignment information:

Status Active Priority: Bz

Opened: 11/26/2010 Assigned: Due: Completed:
Dispogitior::

Unit assigned: Group 10

Handied at fleld/unit level. No

Investigator assign: Sgt Marcy SELSEY

Supervisor assign: Lt Michael DONOVAN
Source of inforrpation: F-Cly, Repris Non-IAR

Organizational compeonent{s};

Bureau: E30-PATROL SERVICES BUREAU
Boro/Divisiom: 162-PATROL BORO MAN NORTH
Precinct/Comsmand: 024-024 PRECINCT
Borough Residence; Bronx

Precinct Residence: 043-043 Pct.
Tour: Second Platoon

Entered by: Det Inv Robert DURAN on Nov 24, 2010 ab 0723
OG » Gutside Guidelines iA number: 44-2044 Recelveds Jan 15, 2044 17:09

Case number: OG11-00027

Complainant/victim:

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Report Under
TAB Log # 10-58607

PGLICE DEPARTMENT

CITY OF NEW YORK
' Novernber 24, 2016
Brom: Commanding Officer, Internal Affairs Bureau, Group 10
To: Chief of Internal Affairs
Subject: MODIFICATION OF SERGEANT DENISE DIAZ, TAX #917536,
24°77 PRECINCT
1 On Wednesday, November 24", 2010, at 1345 hours, Sergeant Denise

Diaz, Tax # 917536, 24" Precinct, was placed on Modified Assignment under the
authority of Chief Charles V. Campisi, Chief of Internal Affairs, for the good order
and efficiency of the Department. The details are as follows:

2, On Wednesday, November 24, 2010, Mr. George Castro, M/H, DOB
02/23/62, NYSID #06915490M, was arrested in front of 199 Admiral Lane, Bronx,
N.Y. 10473 pursuant to an investigation conducted by the New York County District
Attorney’s Office. This address is the residence of Sgt. Diaz as reflected by
Department records and it was ascertained that Sgt. Diaz and Mr. Castro have a
common-law relationship and have two (2) children together. Moreover, Set. Diaz
was at her residence when Mr. Castro was apprehended. District Attorney’s office
Investigator Michael Wigdor advised that he observed Mr. Castro leaving Set. Diaz’s
residence with a bag containing a laptop computer and approximately $400,000 USC.
Moreover, it was revealed that Mr. Castro is suspected of being involved in a theft of
approximately $5.7 million from Columbia University and Columbia Presbyterian
Hospital. On Tuesday, November 23, 2010, Mr. Castro had allegedly withdrawn
$150,000 USC from an account in his name that had been established in order to
deposit some of the proceeds of the alleged fraud. A search warrant was
subsequently executed at the residence of Sgt. Diaz and an additional $5,219 USC, a
computer, a fax machine and miscellaneous documents were recovered.

3. At the time of her being placed on Modified Assignment, Sgt Diaz's shield
and identification card were removed and secured in order to be forwarded to the
Employee Management Division on Friday, November 26", 2010. Set. Diaz’s
firearm, which was verified via her PEPR/Force Record Card and a conferral with PO
Oyola, Tax #913387, Firearms and Tactics Section, was removed. This firearm, a
Glock 19 9mm, serial # BXT452US, was subsequently invoiced on Property Clerk's

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invoice # R526024. Sgt. Diaz was provided with a photocopy of her identification
card and was advised of the availability of Department counseling services.

4, Sergeant Diaz is a female Hispanic appointed: to the Department on July

18", 1996 and assigned to the 24" Precinct on April 24", 2609.. At the time of the
incident that precipitated the above log, Sgt. Diaz was on line- of-duty sick report for a
line of duty injury sustained on November 26, 2010.

  

5. ‘The following were present.

Capt. Brandon Del Pozo PBBX Duty Captain

Set. Craz JAB, Group 10

Set. White LAB, Group 10

6. ‘The following were notified:

Chief Campist Chief of Internal Affairs

AC Strebel Sxecutive Officer, Internal Affsirs Bureau

DBC Mason Commanding Officer, CHIA

DC Comodo CO, iAB/Criminal tnvestigations

Inspector Thonipson CO, IAB/Zone |

Di Monteicone CO, Manhattan LAB

PO Connaughton Med, Div, Firearms Removal Serial #10-624

Set. Haut 1AB Command Center

PO Gonzalez Operations Unit, Log # 10-689 ;
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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

 

DENISE DIAZ,
DECLARATION OF
Plaintiff, CATHERINE C.
MONTARULI
~apainst-
THE CITY OF NEW YORK, etal, 13 Civ. 8281 (CF)

Defendants.

 

CATHERINE C. MONTARULE, declares pursuant to 28 U.S.C. §1746, under penalty of

perjury, that the following is (ruc and correct:

1

I am employed with the New York City Police Department (NYPD”) and have

been so emiployed from September 9, 1985.

I am the Deputy. Director of the Payroll Section within the Paytoll and Benefits

Division of the NYPD. I have held this title since December 30, 2005.

‘The Paytoll Section is xesponsihle for maintaining, and is the custodian of, all records

pettaining to payroll. .

A teview of the Pay Inquiry, the database used by Payroll, for Sergeant Denise Diaz,

Tax Nurmber 917536, seveals as follows:

a. On Novernber 24, 2010, Sergeant Diaz earned 11:00 hours of sccriine. paid
at the prensinm rate, totaling $678.13. "This was paid to Sergeant Diay in her
check from the NYPD dated December 10, 2010.

b. On November 24, 2010, Sergeant Diaz additionally accrued a total of $63.56

frorn the 11:00 hours of overtime earned on this day as an additional night

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rate. ‘This amount was also paid to Sergeant Diaz in her check from the

NYPD dated December 10, 2010.

Executed in New York, New York on August 28, 2015. : 7 /
yy

Catherine C. Montarult

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STEERING COMMITTEE CASE

C# 16-8899
Log#  10-58607
Group 10# 10-086

Frora: Executive Officer, Zone 1, Internal Affairs Bureau

To: Commanding Officer, Zone I, Internal Affairs Bureau

Date. Gcfober 8, 2034. Concur with investigative findings. Recommend case be
closed. Submitted for your niformation and consideration,

XXX FULL INVESTIGATION AND REPORT

CASE DISPOSITION
Substantiated

Partially Substantiated
Unsubstantiated
Bxonerated

Unfounded

Other Misconduct Noted
Matter Referred ‘To
UFAS To

|

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Comments: I have reviewed the investigation and concur with the Commanding
Officer Group 10’s investigative findings. Further investigative resources are Bot
warranted. Investigation should be marked closed, with an overall disposition of

Unsubstantiated ‘
4

Anthony Mainolfl
Deputy inspector

I ENDORSEMENT

Commanding Officer, Zone I, to Commanding Officer, Criminal investigations,
internal Affairs Bureau. Date: tO-lo~ [A. _. Contents Noted, Concur with

investigative findings.

William Monteledne
Inspector

2° ENDORSEMENT
Commanding Officer, Criminal Investigations, to FILE.
Date: (64g . Contents noted, Concur with investigative findings.

is
Alan Cooper
Deputy Chief

  

5d)

   
  

 

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INTERNAL AFFAIRS BUREAU CASE INVESTIGATIVE FINDINGS

CASE INFORMATION

 

DATE OF REPORT EOo7h4 CASE &

 

DATE CLOSED IN IAPRO ee LOG #: —_0-58607
GROUP CASE FP-6lF

CASE INVESTIGATOR: Sergeant Edward Brignont TAR# 9O05Q32

CASE SUPERVISOR: Lisutenant Michael Donovan FAX# $O2828

BATE RECEIVED: iZevid CLASSIFICATION: 2-2
PISPOSTTFION: UNSUBSTANTIATED

INTELLIGENCE REPORTS PREPARED AND ATTACHED: ¥ SUPY. INITIALS MLD.

 

SUBTECT:
1, Sergeant Denise Diaz, Tax #917536, 49" Precinet (A, B, C, D)

ALLEGATIONS:
A, Association — Crime Family}
B. SAM ~ Modified (Not Arrested)
C. Criminal Possession of Stolen Property
D. DRV— Other Department Rules/Procedures (Failed to Comply with Directives
from the District Attorney’s Office with Regard to Repaying the UlL-Gotten Funds}

On November 24, 2010, at approximately 0919 hours, the reporter, Lieutenant
Timothy Burke, Tax #895249, called the Command Center to report that pursuant to an
active investigation, Investigators from the Manhattan District Attorney’s Office had
apprehended Mr. George Castro, NYSID #06915490M, Arrest #M10704976L, for Grand
Larceny of over One Million $1,000,000.00 dollars. from Columbia University. Mr.
Castro was arrested as he exited the residence of the Subject Officer, Sergeant Denise
Diaz, Tax #917536, then of the 24"" Precinct, who had been identified as his common-law
spouse. Sergeant Diaz and Mr. Castro have two (2) children in common, Ryan Castro,
D.OB. 03/30/2002 and Gabriela Castro, D.O.B. 12/05/2006. Both children were present
on the scene at the time of the atrest and were subsequently removed by their godmother.
At the time of the Arrest, Mr. Castro was in possession of a bag which contained a
computer and approximately $400,000.00 dollars U.S.C,

INVESTIGATIVE STEPS:

Complainant ¥ N WS#

Witnesses / Other Civilians y & WS#

Canvass yY & WS#

Locations w/ Intel value ¥ NSN Ws#

Observations w/ Intel value y WN Wse

Conferrais inel. Prosecutors / Advocates Mo ON WS# 8,11,14,20,25,

i 37,44,65,.67,77 83,8996

Non Subject Officers interviewed y WS ws#

Subject Officer(s} Interrogation 8 oN WS# 64,101,118
Significant [tems (note in synopsis) y 8 Wsi

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SYNOPSIS:

On November 24, 2010, investigators from the Manhattan District Attorney's
Office arrested Mr, George Castro NYSID #06915490M, Artest #M10704976L, for
Grand Larceny, in that Mr. Castro stole over five million dollars ($5,000,000.00) from
Columbia University. Mr. Castro was arrested as he exited the residence of the Subject
Officer, Sergeant Denise Diaz, Tax #917536, where he was believed to reside. Sergeant
Diaz and Mr. Castro have two (2) children in common, Ryan Castro and Gabriela Castro.
At the time of the arrest, Mr. Castto was in possession of a bag which contained a
computer and approximately $400,000.00 dollars in U.S.C. Investigator Michael Wigdor
of the Manhattan District Attorney’s Office was informally interviewed by LAB.
Investigators and explained that unknown persons had been able to unlawfully transfer
over five million dollars of U.S. currency from Columbia University into accounts
belonging to Mr. Castro. Mr. Castro did knowingly and intentionally remove said money
from his account and spend an unknown amount. Investigator Wigdor also explained that
prior to the time of arrest the District Attorney’s Office was unaware that a Member of
the Service resided at the location of arrest. A conferral with Columbia University
security personnel revealed that on November 22, 2010, a fraud inquiry was initiated by
the Columbia University Accounts Payable Department regarding the diversion of money
that should have been transferred from Columbia University to Columbia Presbyterian
Hospital. It was discovered that an unknown person had contacted Columbia University
posing as a Columbia Presbyterian Official and requested that paper checks no longer be
utilized for such transfers and that instead, wire transfers should be used. Between
October 06, 2010 and November 22, 2010, transfers totaling approximately $5.7 million
dollars were deposited into multiple accounts belonging to Mr. Castro. A search warrant
was executed by the Manhattan District Attorney’s Office at the Subject Officer’s
residence. The reporter, Lieutenant Timothy Burke, stated that he responded to the
location after being informed by the 43" Precinct Desk Officer that a Sergeant from the
24" Precinct had called the 43 Precinct requesting a union delegate. Upon his arrival at
the scene, the Subject Officer identified herself to Lieutenant Burke and advised him that
Mr. Castro did previously reside at the location however he had moved in August of
2010. Further investigation revealed that on November 18, 2010, six days prior to his
arrest, Mr. Castro purchased and registered to the Subject Officer’s address, a 2011 Audi
Q7, White Suburban, N.Y. Registration #PFW1351. Upon arrival of the Bronx patrol
Duty Captain (Brandon DelPozo, Tax #918925), Sergeant Diaz was placed on duty and
subsequently transported to the 43" Precinct to await investigators from the Internal
Affairs Bureau. The residence was secured by investigators assigned to the Manhattan
District Attorney's Office.

Through financial records obtained by the District Attorney’s Office, investigators
were able to closely track the money stolen from Columbia University and determined
that a significant portion was given to the Subject Officer, Sergeant Diaz, Between
October 15, 2010 and November 22, 2010, the Subject Officer received checks totaling
$395,000.00 dollars from Mr. George Castro. Of the total amount, $310,000.00 dollars
was deposited into the Subject Officer’s personal bank accounts as follows: .

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e The first check, in the amount of $50,000.00 was drawn from Mr. George
Castro's personal account on October 15, 2019.

* ‘The second check in the amount of $50,000.00 was drawn from ITS5, the
company owned by Mr. George Castro, on October 22, 2010.

« The third check in the amount of $75,000.00 was drawn from Mr. George
Castro's personal account on October 29, 2010,

» The fourth check in the amount of $75,000.00 was drawn from Mr,
George Castro’s personal account on November 10, 2010.

* The fifth check in the amount of $60,000.00 was drawn from ITSS, the
company owned by Mr. George Castro on November 17, 2010.

» A sixth check was written to the Subject Officer, in the amount of
$85,000.00, on November 22. That check was neither deposited nor
cashed. The District Attorney’s Office placed a hold on that check. As of
this writing it has not been presented for cashing. It should be noted that
the Subject Officer denies having received this check.

The Subject Officer made two payments in satisfaction of her mortgage, on
November 23, 2010 and November 24, 2010 in the amounts of $30,000.00 and
$130,000.00 dollars respectively. The Subject Officer was interviewed by the Manhattan
District Attorney’s Office on three (3) separate occasions and was informed on each
occasion that the money she received from Mr. George Castro was stolen. The Subject
Officer initially agreed to return the entire $310,000.00 dollars and did immediately,
upon being informed by the District Attorney’s Office that the money was stolen, return
$180,000.00 dollars. The Subject Officer indicated on several occasions to the District
Attorney’s Office and during her initial Department hearing conducted by Group 10
Investigators that she was attempting to refinance her home in order to pay the remaining
$130,000.00 dollars. Sergeant Diaz also indicated that she would, if necessary, borrow
from her pension or 457 Deferred Compensation Plan in order to repay the money that
was given to her by Mr. George Castro. To date, the Subject Officer has repaid only the
$180,000.00 dollar amount and had failed to return the remaining $130,000.00 dollars.

Sergeant Diaz was interviewed under the provisions of Patrol Guide Procedure
206-13 for the first time on April 20, 2012. Regarding Mr. George Castro, Sergeant Diaz
explained that he is the father of her two children and that he lived with her from the time
‘she purchased the residence in November of 2003, until August of 2010. Sergeant Diaz
explained that they met in 1997 and they started dating in 1999. Sergeant Diaz also
explained that they moved in together in 2001, when she discovered that she was
pregnant with her son Ryan two years prior to when she purchased her home on Admiral
Lane in the Bronx. Sergeant Diaz was asked if Mr. George Castro’ had helped her
purchase the residence on Admiral Lane and she answered “No” and also stated that they
are not legally martied. When asked why Mr. George Castro had moved from the
residence, she explained that their relationship had been difficult since 2006 when her
daughter was born. The difficulty was due to the fact that in 2006 Sergeant Diaz
discovered that George Castro had fathered children, prior to the start of their
relationship, about whom he had not informed her. Sergeant Diaz stated that they tried to
stay together for the children however in 2010, the tension between them became
unbearable and she asked him to leave her residence. After she gave birth to her daughter
Gabriella, Sergeant Diaz discovered that George Castro was father to a total of four (4)
children, besides hers, about whom she knew nothing.

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Sergeant Diaz stated that she asked him (Mr. Castro) to move-out, to which he did.
Sergeant Diaz stated that she did not know where Mr. George Castro was currently
residing. When asked regarding the 2011 Audi Q7 purchased by Mr. George Castro,
Sergeant Diaz stated that she was not aware that he had purchased the vehicle and had
registered it at her Admiral Lane address. Sergeant Diaz did see the car around her
residence when Mr. George Castro came to visit however she did not know whether it
had been leased or purchased. Sergeant Diaz stated that Mr. George Castro spent the
week before his arrest at her house helping her take care of their children. Mr. Castro
was driving his Audi however she did not ask any questions regarding its purchase,
Sergeant Diaz was asked regarding her knowledge of Mr. George Castro’s employment
and finances. Sergeant Diaz provided that Mr, Castro was self-employed and owned a
retail security company. She stated that the names of the companies were Unlimited
Securities, Ryan Daelyn Corporation and IT Security Solutions. Sergeant Diaz stated that
she was not aware of his status in any of the companies and did not know if he had any
partners. Sergeant Diaz stated that she never worked for any of his companies, Sergeant
Diaz also answered that she did not know how much Mr. Castro earned and she did not
ask. Regarding Mr. George Castro’s business names, Sergeant Diaz stated that she did
not have any information about Unlimited Securities however Ryan Daélyn Corporation
was changed to IT Security Solutions after she discovered that it was named for her son,
Ryan and his son by another woman, George Daelyn. Regarding finances, Sergeant Diaz
stated that George Castro would often borrow money from her. Sergeant Diaz estimated
that over the years, Mr. Castro borrowed $50, 0000.00 from her. Mr. Castro would either
ask her for money or she would allow him to use her credit cards and she would pay the
bills. Sergeant Diaz stated that George Castro would contribute to the household by
paying approximately $800.00 to $1,000.00 dollars per month. Sergeant Diaz stated that
she and Mr. George Castro did not share a joint bank account however he had, without
her permission, opened a credit card account in her name that ultimately went into default
and had to be paid by her. To Sergeant Diaz’ knowledge, Mr. George Castro did not
have a business degree and did not have any other sources of income. Sergeant Diaz
stated that she assumed that Mr. George Castro was investing in stocks because he had
taken an interest in the stock market.

Regarding the $310,000.00 dollars that Sergeant Diaz received from Mr. George
Castro between October 15, 2010 and November 17, 2010, Sergeant Diaz stated that
when she received the first check in the amount of $50,000.00 dollars on October 15,
2010. Sergeant Diaz stated that when she asked George Castro where the money had.
come from, he told her that he had sold some stocks, Sergeant Diaz did not ask him what
stocks nor did she ask him when he had purchased the stocks and stated that she did not
have any reason not to believe him. One week later, on October 22, 2010, she received a
second $50,000.00 dollar check from Mr. George Castro and stated that she was still not
suspicious even though that was the most money he had ever given her at one time.
Sergeant Diaz stated that when she asked him where that money had come from, Mr.
George Castro answered, “I don’t hold onto my stocks.” When asked if it seemed odd to
her that she should, within one week, receive $100,000.00 dollars from a man who had
not ever been able to consistently pay his bills, she replied that it did and that’s why she
asked where the money had come from. When on October 29, 2010, she received a
$75,000.00 dollar check from Mr. George Castro; Sergeant Diaz stated that Mr. George
Castro told her that he been paid from a State job. She further stated that she had no
reason not to believe him.

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When on November 10, 2010, she received another $75,000.00 from George Castro,
Sergeant Diaz was asked if she was at all suspicious and answered that she was, but
stated that he told her just to take the money and pay-oif her mortgage since she had
begun the refinancing process. Sergeant Diaz stated that by the time she received the
second $75,000.00 dollar check, she was more suspicious and asked George Castro if the
money was legal. Sergeant Diaz stated that he (Mr. Castro) had told her that he would
net do anything to put her (Sergeant Diaz) in jeopardy and she proceeded to deposit the
check. On November 17, 2010, Sergeant Diaz received another $60,000.00 dollar check
from Mr. George Castro and stated that she remained suspicious however she deposited
the check regardless. Sergeant Diaz was asked if, given her history with Mr. George
Castro, she trusted his explanation as to where the money was coming from. Sergeant
Diaz responded that ultimately she didn’t trust him in personal matters, but had no reason
not to trust him in business matters or with money. She added, “Besides lying to me
about the credit card and his other children; that was my trust issue with him.” She stated
that she did question receiving such a large amount of money in such a short period of
time however she uldmately believed him when he told her that the money was
legitimate. She stated that she took him at “face value.”

Sergeant Diaz was interviewed a second time on August 15, 2013, after the
Manhattan District Attomey’s Office filed a civil lawsuit against her. She reiterated that
she did receive approximately $310,000.00 dollars from Mr. George Castro between
October 15, 2010 and November 17, 2010 and had returned approximately $186,000.00
dollars to the Manhattan District Attomey’s Office afler Mr. Castro was atrested.
Sergeant Diaz further explained that upon the District Attorney’s representation that the
money received by her from Mr. George Castro was stolen from Columbia University,
she returned what remained of that money to the Distriet Attorney’s Office. Sergeant
Diaz explained that “something was worked-out” between her initial attorney, Andrew
Quinn from the S.B.A. and the District Attorney’s Office and that when she was
informed by Mr. Quinn that she had to return the money fo the District Attorney’s Office
she did so. Sergeant Diaz was asked when she first realized that the money bad been
stolen from Columbia University, Mr. Aguirre, her new Attorney, interjected that
Sergeant Diaz had at no time stated that she believed that the $310,000.00 dollars she had
been given by Mr. Castro was stolen. When asked directly if she believed that the
$310,000.00 dollars given to her by Mr. Castro was stolen, Sergeant Diaz stated that she .
did not. When asked why she agreed to return the money to the District Attormey’s
Office, Sergeant Diaz stated that it was because her Attorney at the time, Mr. Quinn, told
her that she had to return the money to the District Attorney’s Office. Sergeant Diez
farther explained that she had been informed by Mr. Castro, during a taped jailhouse
telephone conversation, that he had money of his own in his personal accounts and that of
the $310,000.00 dollars that he gave to Sergeant Diaz between October 15, 2010 and
November 17, 2010, ail but $60,000.00 dollars was money that legitimately belonged to
Mr. Castro. Sergeant Diaz stated that Mr. Castro did not tell her exactly how much of his
own money was in his accounts but based on her belief that Mr. Castro was telling Ber the
truth, she informed the District Attorney’s Office that she didn’t have to retum the money
because it had been legitimately earned by Mr. Castro, When asked where she thought
the balance of the $310,000.06 dollars given to her by Mr. Castro came from, Sergeant
Diaz stated that she believed it came from the stock market and his job.

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Mr. Aguitre stated that there had been no formal written request from the District
Attorney’s Office demanding repayment from Sergeant Diaz and that that he and
Sergeant Diaz had not been provided with an accounting of Mr. George Castro’s bank
accounts to show that the money that had been given to Sergeant Diaz had been stolen.
He further offered that he had been in contact with Assistant District Attorney Charles
King in order to work-out a possible agreement so that there might be a resolution to the
civil proceedings. Mr. Aguirre also stated that he and Sergeant Diaz were informed via
telephone that the money was stolen and needed to be repaid. Sergeant Diaz was asked if
she had attempted to sell her home in order to repay the money given to her by Mr.
George Castro and she answered, “No.” When asked if her home was in foreclosure,
Sergeant Diaz stated that it was not, When asked if she had indicated or caused to be
indicated to the Manhattan District Attorney’s Office that she did nol intend to repay the
balance of the money that had been given to her by Mr. George Castro, Sergeant Diaz
stated that she had not.

The following people were arrested, tried, and sentenced in connection with the
Grand Larceny from Columbia University:

* George Castro, Common-law spouse of Sergeant Diaz, (Arrested 11/24/103
| Convicted 08/07/2012, Grand Larceny 1* degree, Sentenced 09/24/2012, to 8-24

years.

* Jean-Paul Moise (Anested 12/13/11) Former Columbia Employee Pleaded guilty
to Grand Larceny ~ No jail time due to cooperation with A.D.A.

» Joseph Pineras (Asrested 010/4/12) Former Columbia Employee Convicted of
Fraud, - No jail time due te cooperation with A.D.A.

e Walter Stephens (Arrested 06/15/11} Convicted of Grand Larceny 1 — Sentenced
69/24/12, to 3-9 years.

e Jeremy Dieudenne (Aested 08/02/11} Convicted of Grand Larceny 1 ~
Sentenced to 7-21 years.

Other than Mr. George Castro, none of the people atrested in connection with the
criminal investigation into the theft from Columbia University, indicated that they were
at all acquainted with the Subject Officer. Neither the District Attorney’s investigation
‘nor the Investigators queries of Department computer systems proved any connection
between the Subject Officer and any of the other criminal defendants (Worksheets #32,
#141, #142, #143 and #145). According to A.D.A. Kim Han, the Subject Officer did not
attend the trial of Mr. George Castro.

Although there was no written agreement between the Subject Officer and the
District Attorney’s Office, Sergeant Diaz admitted that she initially agreed to repay all of
the money that had been given to her by Mr. George Castro. The District Attorney’s
Asset Forfeiture Unit initiated civil litigation against Sergeant Diaz afler it became clear
that Sergeant Diaz did not intend to repay the balance of the stolen money.

A.D.A. Charles King of the Asset Forfeiture Unit of the Manhattan District
Attorney’s Office, ultimately agreed to settle with the Subject Officer for the amount of
money that she had already repaid ($180,000.00 dollats) in satisfaction of the entire
amount received ($310,000.00 dollars). No evidence of the Subject Officer's
involvement in the theft was ever uncovered and no criminal charges were ever filed.

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BACKGROUND OF THE SUBJECT OFFICER:

SERGEANT DENISE DIAZ, TAX #917536, 49" Precinct

Appointed: 07/18/1096

Duty Status: Full, Active/No Restrictions

Sick Record: 34 Events/Not Designated Chronic

Arrest Record: (20-Felonies, $3 -Misdemeanors and 02-Violations)

IAPRO: Twelve (12) Events including the current Call-Out (1); two (02) “C” cases,
Four (04) ““M” cases; One (1) “CC” case; Three (3) “OG” cases; One (1) IXLO
Conversion

FCES: Four (4) Incidents, None Similar

ALLEGATIONS: (A, B,C, D)

A. There was insufficient evidence to prove that Subject Officer Diaz was aware of
or complicit in the criminal activities of her common-law husband, Mr. George Castro.
‘Therefore, recommend that Allegation “A” Association - Crime (Family), be closed with
a disposition of INFORMATION AND INTELLIGENCE,

B. Sergeant Diaz was placed on Modified Assignment, at the time of Mr. George
Castro’s arrest, due to the ongoing investigation that was conducted by the Manhattan
District Attorney’s Office. Therefore, recommend that Allegation “B” SAM — Modified
(Not Arrested} be closed with a disposition of INFORMATION AND
INTELLIGENCE,

C. Through financial records obtained by the District Attorney's Office, investigators
were able to track the currency stolen from Columbia University and determined that a
portion was given to the Subject Officer, Sergeant Diaz. Between October 15, 2010 and
November 22, 2010, the Subject Officer received checks totaling $395,000.00 dollars
from Mr. George Castro. Of the total amount, $310,000.00 dollars was deposited into the
Subject Officer’s personal bank accounts as follows: the first check, in the amount of
$50,000.00 dollars was drawn from Mr. George Castro’s personal account on October 15,
2010. The second check in the amount of $50,000.00 dollars was drawn from ITSS, the
company owned by Mr. George Castro, on October 22, 2010. The third check in the
amount of $75,000.00 dollars was drawn from Mr. George Castro’s personal account on
October 29, 2010. The fourth check in the amount of $75,000.00 dollars was drawn from
Mr. George Castro’s personal account on November 10, 2010. The fifth check in the
amount of $60,000.00 dollars was drawn from ITSS, the company owned by Mr. George
Castro on November 17, 2010. A sixth check was written to the Subject Officer, in the
amount of $85,000.00 dollars, on November 22. That check was neither deposited nor
cashed. The District Attorney’s Office placed a hold on that check. As of this writing, it
has not been presented for cashing. It should be noted that the Subject Officer denies
having received this sixth check. Recommend that Allegation “C” Criminal Possession
of Stolen Property be closed with a disposition of UNSUBSTANTIATED. The
Manhattan District Attorney’s Office waived criminal prosecution and subsequently
settled a civil lawsuit noting that the Subject Officer does not have to repay any
additional monies regarding this matter. It was never clearly proven if and how much
currency was ill-gotten.

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D. Sergeant Diaz was informed on at least three (3) separate occasions, by the
Manhattan District Attorney’s Office, that the $310,000.00 dollars of the money that she
received from Mr. George Castro had been stolen from Columbia University, After
initially agreeing to return all of the money received from George Castro, Sergeant Diaz
did not cooperate with the District Attomey in that she determined that she was not
responsible to return the remaining $130,000.00 dollars. The District Attorney’s Office
responded by comanencing a civil lawsuit against Sergeant Diaz that was ultimately
settled and no further action (re-payment of additional funds} was required on. the part of
Sergeant Diaz. Therefore, recommend that Allegation “D” DRV - Other Department
Rutes/Procedures (Failed to Comply with Directives from the District Attorney’s Office
with Regard fo Repaying the Il-Gotten Funds) be closed with a disposition of
UNSUBSTANTIATED.

THE OVERALL CASE DISPOSITION IS. UNSUBSTANTIATED.

“eka HO SY Lots! “SP Visininis,

Date Invéstigator’s signature

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Date Supervisor’ s si

  
 

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COMMANDER’S REVIEW — APPROVAL AND RECOMMENDATION

This case investigation commenced with the arrest and subsequent conviction of
the Subject Officer’s (Sergeant Denise Diaz) common-law spouse, Mr. George Castro.
Upon his arrest, Sergeant Diaz was placed on Modified Assignment. Mr. Castro was
arrested with four (4) co-defendants for stealing monies from Columbia Hospital’
University. Mr. Castro was sentenced to serve between eight and twenty-four years in
prison, A portion of the criminal proceeds ($310,000.00 dollars) was given to Sergeaat
Diaz. The Sergeant did agree and pay the Manhattan District Attorney's Office
$180,000.00 dollars. ‘This amount was the remaining money after Sergeant Thaz paid her
existing home mortgage. During the course of this case investigation, Sergeant Diaz
admitted to knowing that $60,000.00 dollars (of the $310,000.00 dollars) may have been
fraudulently obtained by Mr. Castro during a taped jailhouse conversalion,

Sergeant Diaz was never arrested for the actions committed by Mr. George Castro
and his co-defendants. The Manhattan District Attorney’s Office did not enter into any
signed agreement with Sergeant Diaz in order to obtain the reraining $130,000.06
dotlars (Workshect #86), Although the Manhattan District Attorney’s Office prepared a
lawsuit in order to obtain the remaining money from Scrgeant Diaz (Worksheet #98), the
suit was ultimately dismissed (Worksheet #121) and Sergeant Diaz was under no
obligation to pay the remaining money to the Manhattan District Attormey’s Office.
Sergeant Diaz was ultimately restored to full-duty (Worksheet #126). Based upon the
facts presented above, the Department Advocate’s Office did not believe that it would be

in the best interests of the Departinent to file Charges and Specifications against Sergeant
Diaz.

it should be noted that the co-defendants were not debriefed, at the request of the
Manhattan District Attorney’s Office, due to the criminal appeal process being
undertaken. The undersigned personally conferred with Inspector Luciani, Commanding
Officer of the Department Advocate’s Office, who stated that Charges and Specifications
ate not filed against Members of the Service who are (were) being sued civilly. It should
also be noted that Sergeant Diaz did file a iawsuit against the City of New York
(Attachment #111) which remains currently active (Worksheets #139 and #145).

Review of Supervisory Responsibilities (check one):

X. Supervisory responsibilities were reviewed and investigated. No
deficiencies were identified.

_ Supervisory deficiencies were identified and addressed, as indicated within
the contents of this Case Closing/Final Report.

ol

Date

   
 

Group Commander's Signature
James G, Winslow
Depyly Inspector

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COMPLAINANT NOTIBICATION:
Was complainant notified re: Final Disposition of Case? Yes No
How was notification made? In Person Mai X

If no notification was made, why not? N/A

FINAL DISPOSITIONS WILL BE PROVIDED TO THE COMPLAINANT ONLY IF
if IS REASONABLE, PRACTICAL AND APPROPRIATE (LE. FINAL
DISPOSITIONS WILL NOT BE DIVULGED TO COMPLAINANT IF TT WILL
COMPROMISE FUTURE / ONGOING INVESTIGATIONS.

is op! |
Date estigator’s Signature

 

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INVESTIGATIVE SUPPLEMENT
ADDETIGNAL INFORMATION

 

 

 

 

CH (899 s. 2010
M# Ss.
Log # 58607 8.2019
Control Pad # &.
Bribery ft s.
Civilian Arrest Charges
MOS Anrest(s) # Charges
Prosecutors Name ADA Han Bureau N.Y, County
District Attomey
‘Telephone #
Chargesand Specs# _
Advocates Name,
Enter additional MOS under details
Details:
Investigator’s Initials: MLS. Supervisor’s Initials: M.D.

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ADDITIONAL COMMANDER'S COMMENTS

y LA

/Cdqufhanding Officer Group 10
Jayhas G. Winslow
epul\ inspector

SEE ATTACHED PAGE 09.

  

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SUPREME COURT OF THE STATE OF NEW YORK NO FEE
NeW YORK COUNTY
LOO CENTRE STREET
NEW YORK, N¥ 16013

CERTIFICATE OF DISPOSITION INDICTMENT

DATE: 08/09/2014 COYTTFICATE GF DISPOSITION NUMBER: 37847
PEORTE OF WIE STATE GF NEW YORE CASE NUMBER: 02922-2011
Ve. LOWER COURT NUMBER(S): 20LONYO87230
DATE OF ARREST: 11/24/2010
ARREST #: MLO704976
NYSID #: 6915490M
DATE OF BIRTH: 02/23/1962
CASTRO, GEORGE DATE FILED: 96/03/2011

DEFENDANT
y HEREBY CERTIFY THAT IT APPEARS FROM AN EXAMINATION OF THE RECORDS -
ON FILE IN THIS OFFICE THAT ON 08/07/2012 THE ABCVE NAMED DEFENDANT WAS

CONVICTED OF THE CRIME(S) BELOW BEFORE JUSTICE STOLZ,R THEN A
SUSTICE OF THIS COURT.

GRAND LARCENY lst DEGREE L 155.42 ne By
CRIMINAL POSSESSION OF STOLEN PROPERTY st DEGRER PL 165.84 06 BF
MONEY LAMMMBRING ish DEGREE PL 270.29 00 BF

THAT ON 09/24/2012, UPON THE APORESAID CONVICTION BY TRIAL THE HONORABLE
STOLZ,R 'THRN A JUDG OF THIS COURT, SENTENCED THE DEFENDANT
TO

GRAND LaRcHiY ist DEGREES PL 155.42 00 BF
TMPRESONMENT = 7 YEAR(S} 7G 21 YEAR(S}

GRIMINAL POSSESSEON OF STOLEN PROPERTY let DEGRER PL 165.54 00 BF
IMPRISONMENT « 7 FRAR(S} TO 21 Year{s)

MONEY LAUNDERING Lat GECREE Pi 470.20 0% BF
IMPRTAONMENT = 7 YEAR(S) TO #2 YEAR (4}.

RESTITUTION = $1,997,314
DNA « $50 (PAID)

IN WITNESS WHBREOF, I HAVE HEREONTO SET MY HAND AND AFFIXED KY
OFFICTAL SEAL OM THIS DATE 05/09/2014

 

COURL ARK
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REPORT UNDER
LAB. LOG #10-58607

POLICE DEPARTMENT
CITY OF NEW YORK
June 13, 2014
From: Commanding Officer, Internal Affairs Group 10
To: First Deputy Commissioner

Subject. REQUEST CHARGES AND SPECIFICATIONS AGAINST SERGEANT
DENISE DIAZ, TAX #917536, 49™* PRECINCT

lL. It is requested that Charges and Specifications be preferred against Sergeant Denise
Diaz, Tax #917536, assigned to the 49" Precinet, This request is in connection with [.A.B. Log
#10-58607, The details are as follows:

2. Pursuant to an active investigation, Investigators from the Manhattan District
Attomey’s Office arrested George Castro, NYSID #06915490M, Arrest #M10704976L, for
Grand Larceny of approximately $5,500,000 U.S.C. from Columbia University, Mr. Castro was
arrested on November 24, 2010, as he exited the residence of the Subject Officer, Sergeant
Denise Diaz, Tax #917536, currently of the 49"" Precinet, who was identified as the common-law
spouse of Mr, Castro. Mr. Castro, at the time of his arrest, was in possession of a bag which

contained a;computer and approximately $400,000.00 U.S.C, in various denominations.

3. Sergeant Denise Diaz was interviewed by the Manhattan District Aitomey’s Office
on at least three (3) separate occasions. During these meetings, Sergeant Diaz confirmed that
over.a period of five (5) weeks, between Ootober 15, 2010 and November 22, 2010, she: had
received five (5) checks from Mr. Castro, tateling $310,000 U.S.C. Sergeant Diaz was informed
by the District Attorney's Office that the: money she received was ill-gotten gains and was @
portion of the money that had been stolen from Columbia University. The prosecuting A.D.A.
and Investigators also explained the circumstances of the thefi. Sergeant Diaz agreed to repay
the monéy which had been given to her by George Castro and did in fact immediately repay
approximately $180,000.00 to the District Attorney's Office. Sergeant Diaz informed the
assigned A.D.A. that she would need to refinance her home in order to repay the remainder of
ihe money she received, approximately $130,000 U.S.C., as she had used it to pay-off her
itortgage. Sergeant Diaz also informed the A.D.A. that if she were unable to refinance her
home, shé would use her savings and take a pension loan in order to repay the money. The
District Attorney’s Office agreed to her terms.

(LEA

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When first viewed pursuant fo PG 206-13 in April of 2012 seart Diaz indicaled that she
was in the Pocess of applying to refinance her hore and re. cated that she would use her
savings ot take a pension loan if necessary to complete the repayment.

4, In October of 2017, after all of the defendants ta the criminal case against George
Castro were sentenced, Sergeant Diaz indicated to the Manhattan District Attomey’s Office,
through her attorney, Ricardo Aguirre, that she did not believe she should have to repay the
balance of the money that was given to her by George Castro and that she did not believe the
money given to her was stolen. The D.A’s Office, after having been unable to reach Sergeant
Diaz and being unable to reach an equitable settlement with Sergeant Diaz, in July of 2013, filed
a Civil Lawsuit against Sergeant Diaz and placed a notice of pendency on her residence.
Sergeant Diaz subsequently filed a civil rights lawsuit against the City of New York, the New
York County District Attorney’s Office and two unidentified Officers who executed the search
warrant at her residence. A.D.A. Charles King, who is handling the civil case, was interviewed
and stated that if Sergeant Diaz had simply maintained contact, the D.A.’s Office would have
been happy to make payment arrangements with her and a lawsuit would nol have been
necessary.

5. In light of Sergeant Diaz’ continuous course of conduct and failure to coaperate with
the directive of the Manhattan District Attorney's Office that she repay the balance of the ill-
gotten gains that she received from George Castro, it is requested that Charges and
Specifications be preferred against Sergeant Diaz for the above misconduct (DRV — Other
Conduct Prejudicial to the Good Order of the Department). Sergeant Diaz was informed at the
initial “proffer” with the Manhattan District Atormey’s Office that the money given to her by
Mr. Castro was Stolen. Sergeant Diaz was personally informed by Mr. Castro, during a taped
jailhouse conversation, that a portion of the money was stolen. During an initial Official
Department Hearing, the Attorney for Sergeant Diaz informed 1.A.B. investigators that Sergeant
Diaz had been previously informed by the District Attorney’s Office that the money was stolen
fromm Columbia Hospital/University.

6. On June 13, 2014, Agency Attomey David Green, Tax #354411, Department
Advocate’s Office, was conferred with regarding the request for Charges and Specifications.

7. Sergeant Marcy Selsey,. Tax #905032, IAB/Group 10 is the assigned investigator,
Her reguiar days off are Sunday and Monday and she can be contacted at (212) 694-3082.

&. Submitted for your CONSIDERATION.

AfJames G. Winslow
Deputy Inspector

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Number: 9178638736

Name:

Subject: Yes, girlfriend I will get it for U . Desired a great
Date: 16/4/2010 10:08:26 AM

Folder: Outbox

yes, girlfriend I will get it for U . Desired a great birthday pleasant for
being a greatest mom, woman, .and friend.... I mean that.:) have a great day!

DEFENDANT'S

‘ EXHIBIT
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Number: 9179636736

Name:

Subject: U mean present?
Date: 10/4/2010 26:69:28 AM
Folder: Inbox

U mean present?

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Number: 9178638736

Name:

Subject: Yes. Daaa.

Date: 10/4/2010 10:41:25 AM
Foldex: Outbox

Yes. Daaa.

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Number: 9178638736

Nae:

Subject: You need at least 8lgqis
Date: 10/4/2610 11:04:09 AM
Folder: Inbox

You need at least 80gis

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Number: 91178638736
Name:

Subject: I soon get money. I will give nu the money.
Date: 16/4/2010 12:23:13 PM
Folder: Outbox

I soon get money. ET wili give wu the money.

Fage 294
